Case 8:21-cv-00541-CEH-SPF Document 40 Filed 05/19/21 Page 1 of 3 PageID 5874




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

STATE OF FLORIDA,

      Plaintiff,

      v.                                 Case No. 8:21-cv-541-CEH-SPF

UNITED STATES OF AMERICA,
et al.,

      Defendants.
_________________________________

                          NOTICE OF APPEAL

      Notice is hereby given that the State of Florida appeals to the United

States Court of Appeals for the Eleventh Circuit from the Order denying its

motion for a preliminary injunction. ECF 38 (denying ECF 4).




                                     1
Case 8:21-cv-00541-CEH-SPF Document 40 Filed 05/19/21 Page 2 of 3 PageID 5875




                                   Respectfully submitted,

                                   Ashley Moody
                                   ATTORNEY GENERAL

                                   John Guard
                                   CHIEF DEPUTY ATTORNEY GENERAL

                                   /s/ James H. Percival
                                   James H. Percival* (FBN 1016188)
                                   CHIEF DEPUTY SOLICITOR GENERAL
                                   *Lead Counsel

                                   Jason H. Hilborn (FBN 1008829)
                                   ASSISTANT SOLICITOR GENERAL

                                   Anita Patel (FBN 70214)
                                   SENIOR ASSISTANT ATTORNEY GENERAL

                                   Rachel Kamoutsas (FBN 106869)
                                   DEPUTY GENERAL COUNSEL

                                   Office of the Attorney General
                                   The Capitol, PL-01
                                   Tallahassee, Florida 32399-1050
                                   (850) 414-3300
                                   (850) 410-2672 (fax)
                                   james.percival@myfloridalegal.com

                                   Counsel for the State of Florida




                                     2
Case 8:21-cv-00541-CEH-SPF Document 40 Filed 05/19/21 Page 3 of 3 PageID 5876




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 19th day of May, 2021, a true and

correct copy of the foregoing was filed with the Court’s CM/ECF system, which

provides notice to all parties.


                                   /s/ James H. Percival
                                   James H. Percival
